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8                          UNITED STATES DISTRICT COURT
9                         EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,             CR. NO. 2:07-248-07 WBS
13                  Plaintiff,             ORDER RE: MOTION FOR SENTENCE
                                           REDUCTION PURSUANT TO 18 U.S.C.
14         v.                              § 3582(c)(2)
15   ALVARO COBIAN GOMEZ,
16                  Defendant.
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20               Before the court is defendant Alvaro Gomez’s Motion for

21   sentence reduction pursuant to 18 U.S.C. § 3582(c)(2) (“section

22   3582(c)(2)”) and Amendment 782 of the United States Sentencing

23   Guidelines.    (Def.’s Mot. (Docket No. 1387).)        The government

24   opposes defendant’s Motion.       (Gov’t’s Opp’n (Docket No. 1419).)

25               The court notes, as an initial matter, that defendant

26   wishes to represent himself on this Motion.         (See Docket No.

27   1388.)     He has filed a waiver of counsel and motion for self-

28   representation, (see id.), and twice opposed the Federal Defender
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1    Office’s efforts to assign counsel to his case, (see Docket Nos.

2    1435 and 1472.)     In light of defendant’s repeated requests to

3    proceed without counsel, the court will grant his request for

4    self-representation and set aside its August 23, 2016 Order

5    allowing for supplemental briefing and its November 23, 2016

6    Order appointing counsel to defendant.        Because all briefs

7    ordered by the court for defendant’s Motion to reduce sentence

8    have been submitted, (see July 12, 2016 Order (Docket No. 1407);

9    Gov’t’s Opp’n; Def.’s Reply (Docket No. 1433)), the Motion is

10   taken under submission.

11               On July 5, 2011, defendant pled guilty to one count of

12   conspiracy to distribute and possess with intent to distribute at

13   least fifty grams of methamphetamine and at least five grams of

14   cocaine in violation of 21 U.S.C. § 841(a)(1) and 846, and two

15   counts of use of a communication facility for the purpose of drug

16   trafficking in violation of 21 U.S.C. § 843(b).          (Presentence

17   Report (“PSR”) ¶ 1 (Docket No. 1248).)        Defendant’s Guidelines

18   sentencing range, based on an offense level of 36 and a criminal

19   history category of III, was 235 to 293 months in prison.            (Id. ¶

20   68.)   On September 9, 2013, the court sentenced defendant to 240
21   months in prison.     (Docket No. 1252.)

22               Defendant now seeks to reduce his sentence to 188

23   months pursuant to section 3582(c)(2) and Amendment 782.             (Def.’s

24   Mot. at 7.)    Section 3582(c)(2) allows a federal court to “modify

25   a term of imprisonment” where “a defendant [was] sentenced . . .

26   based on a sentencing range that has subsequently been lowered by
27   the [United States] Sentencing Commission.”         18 U.S.C. §

28   3582(c)(2).    The United States Supreme Court held in Dillon v.
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1    United States, 560 U.S. 817 (2010) that section 3582(c)(2)

2    involves “a two-step inquiry.”       Id. at 826.    “A court must first

3    determine that a reduction is consistent with [the policies set

4    forth in] § 1B1.10” of the Guidelines (“section 1B1.10”).            Id.

5    “At step two of the inquiry, § 3582(c)(2) instructs a court to

6    consider any applicable § 3553(a) factors and determine whether,

7    in its discretion, the reduction authorized by reference to the

8    policies relevant at step one is warranted in whole or in part

9    under the particular circumstances of the case.”          Id. at 827.

10               With respect to step one, the government concedes that

11   Amendment 782 reduced defendant’s Guidelines sentencing range to

12   188 to 235 months and that a sentence reduction would be

13   consistent with section 1B1.10.       (Gov’s Opp’n at 2.)

14               With respect to step two, however, the government asks

15   that the court exercise its discretion to deny defendant’s

16   Motion, noting that defendant: (1) participated in a drug

17   conspiracy of “massive scale” scale, (see id. at 3 (noting that

18   defendant was involved in trafficking “multiple pounds of

19   methamphetamine and kilograms cocaine”)); (2) “operat[ed] at the

20   highest levels of [the] conspiracy,” (see id. (noting that
21   defendant “used sophisticated coded language to discuss drug

22   trafficking”)); and (3) “failed to take responsibility for his

23   crimes” even after being convicted, (see id. (noting that

24   defendant “objected to the entirety of [his] PSR,” which

25   “accurately details the extensive drug trafficking” he engaged

26   in)).   Having reviewed the documents relevant to defendant’s
27   Motion, the court agrees that a sentence reduction is not

28   warranted under step two of Dillon.        Accordingly, the court will
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1    deny defendant’s Motion.

2                IT IS THEREFORE ORDERED that defendant’s motion for

3    self-representation (Docket No. 1388) be, and the same hereby is,

4    GRANTED.    The court’s August 23, 2016 Order (Docket No. 1427) and

5    November 23, 2016 Order (Docket No. 1468) are hereby VACATED.

6                IT IS FURTHER ORDERED that defendant’s Motion for

7    sentence reduction pursuant to § 3582(c)(2) (Docket No. 1387) be,

8    and the same hereby is, DENIED.

9    Dated:   December 8, 2016

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